                                   Case: 18-15237      Doc: 32       Filed: 02/06/20   Page: 1 of 13




1A
 101-7-TDR
 /2009
 /2010
 ary
 2 Services
                                                 UNITED STATES BANKRUPTCY COURT
                                                 WESTERN DISTRICT OF OKLAHOMA


               In Re:                                            §
                                                                 §
               CHERYL ANN BURNS                                  §       Case No. 18-15237
                                                                 §
                                   Debtor                        §

                               CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                               REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                               ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                       DOUGLAS N. GOULD, TRUSTEE, chapter 7 trustee, submits this Final Account,
               Certification that the Estate has been Fully Administered and Application to be Discharged.

                       1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
               and, if applicable, any order of the Court modifying the Final Report. The case is fully
               administered and all assets and funds which have come under the trustee’s control in this case
               have been properly accounted for as provided by law. The trustee hereby requests to be
               discharged from further duties as a trustee.

                      2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
               discharged without payment, and expenses of administration is provided below:


               Assets Abandoned: 39,740.66                               Assets Exempt: 0.00
               (Without deducting any secured claims)

               Total Distributions to Claimants: 1,825.52                Claims Discharged
                                                                         Without Payment: 34,926.95

               Total Expenses of Administration: 666.51


                       3) Total gross receipts of $ 2,492.03 (see Exhibit 1), minus funds paid to the debtor and
               third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 2,492.03 from the liquidation of
               the property of the estate, which was distributed as follows:




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                                                  CLAIMS           CLAIMS                 CLAIMS                 CLAIMS
                                                SCHEDULED         ASSERTED               ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                       $ NA                  $ NA                  $ NA                      $ NA

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                       NA                666.51                 666.51                   666.51

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                               NA                   NA                     NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                NA                   NA                     NA                       NA

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                                  NA             36,752.47              36,752.47                 1,825.52

TOTAL DISBURSEMENTS                                    $ NA           $ 37,418.98            $ 37,418.98                $ 2,492.03


                  4) This case was originally filed under chapter 7 on 12/20/2018 . The case was pending
          for 13 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 01/08/2020                        By:/s/DOUGLAS N. GOULD, TRUSTEE
                                                                         Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                EXHIBITS TO
                                                              FINAL ACCOUNT


               EXHIBIT 1 – GROSS RECEIPTS

                              DESCRIPTION                                   UNIFORM                                      $ AMOUNT
                                                                           TRAN. CODE1                                   RECEIVED

    2018 tax refunds                                                           1124-000                                       2,492.03

TOTAL GROSS RECEIPTS                                                                                                        $ 2,492.03
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


               EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                      PAYEE                                      DESCRIPTION                          UNIFORM            $ AMOUNT
                                                                                                     TRAN. CODE             PAID

NA                                                                                                      NA                          NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                     $ NA
THIRD PARTIES


               EXHIBIT 3 – SECURED CLAIMS

                                                    UNIFORM       CLAIMS
                                                                                    CLAIMS               CLAIMS
CLAIM NO.                 CLAIMANT                   TRAN.     SCHEDULED                                                 CLAIMS PAID
                                                                                   ASSERTED             ALLOWED
                                                     CODE     (from Form 6D)

NA              NA                                    NA                   NA                  NA                  NA                NA

TOTAL SECURED CLAIMS                                                     $ NA                 $ NA                $ NA              $ NA


               EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES




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                                         UNIFORM
                                                             CLAIMS            CLAIMS             CLAIMS
              PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                           SCHEDULED          ASSERTED           ALLOWED
                                          CODE

DOUGLAS N. GOULD                          2100-000                     NA              623.01             623.01          623.01


DOUGLAS N. GOULD                          2200-000                     NA               43.50              43.50           43.50

TOTAL CHAPTER 7 ADMIN. FEES                                         $ NA             $ 666.51         $ 666.51           $ 666.51
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                             CLAIMS            CLAIMS             CLAIMS
              PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                           SCHEDULED          ASSERTED           ALLOWED
                                          CODE

NA: NA                                          NA                     NA                 NA                NA               NA

TOTAL PRIOR CHAPTER ADMIN.                                          $ NA                $ NA               $ NA             $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                               CLAIMS            CLAIMS
                                                UNIFORM
                                                             SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                             CLAIMS PAID
                                                              (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                                  6E)             Claim)

NA          NA                                       NA                 NA                  NA               NA              NA

TOTAL PRIORITY UNSECURED                                               $ NA               $ NA              $ NA            $ NA
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS




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                                                             CLAIMS          CLAIMS
                                                UNIFORM
                                                           SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                            (from Form    (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)           Claim)

            AMERICAN EXPRESS
11          NATIONAL BANK                       7100-000             NA            1,090.18           1,090.18           54.15


            CAPITAL ONE BANK
6           (USA), N.A.                         7100-000             NA              118.93            118.93             5.91


            CAPITAL ONE BANK
7           (USA), N.A.                         7100-000             NA            2,361.67           2,361.67          117.31


10          CAPITAL ONE, N.A.                   7100-000             NA              380.84            380.84            18.92


            DEPARTMENT STORES
23          NATIONAL BANK                       7100-000             NA            2,120.03           2,120.03          105.31


2           Discover Bank                       7100-000             NA            3,401.05           3,401.05          168.93


            FIRST NATIONAL BANK
5           OF OMAHA                            7100-000             NA            1,046.82           1,046.82           52.00


            JPMORGAN CHASE BANK,
8           N.A.                                7100-000             NA              536.47            536.47            26.65


            JPMORGAN CHASE BANK,
9           N.A.                                7100-000             NA              514.41            514.41            25.55


1           MERRICK BANK                        7100-000             NA            3,873.80           3,873.80          192.41


15          PYOD, LLC                           7100-000             NA            2,754.23           2,754.23          136.80


16          PYOD, LLC                           7100-000             NA            1,399.02           1,399.02           69.49


17          PYOD, LLC                           7100-000             NA              959.83            959.83            47.68




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                                                             CLAIMS           CLAIMS
                                                UNIFORM
                                                           SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                            CLAIMS PAID
                                                            (from Form     (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)            Claim)

18          PYOD, LLC                           7100-000             NA             1,195.79           1,195.79           59.40


19          PYOD, LLC                           7100-000             NA             4,315.47           4,315.47          214.35


20          PYOD, LLC                           7100-000             NA             1,402.61           1,402.61           69.67


21          PYOD, LLC                           7100-000             NA             1,793.91           1,793.91           89.10


22          PYOD, LLC                           7100-000             NA             1,154.08           1,154.08           57.32


3           PYOD, LLC                           7100-000             NA             2,232.78           2,232.78          110.90


4           PYOD, LLC                           7100-000             NA             1,160.02           1,160.02           57.62


            QUANTUM3 GROUP LLC
12          AS AGENT FOR                        7100-000             NA               592.94            592.94            29.45


            QUANTUM3 GROUP LLC
13          AS AGENT FOR                        7100-000             NA             2,287.36           2,287.36          113.61


14          DIRECTV, LLC                        7100-001             NA                60.23             60.23              2.99

TOTAL GENERAL UNSECURED                                             $ NA        $ 36,752.47      $ 36,752.47          $ 1,825.52
CLAIMS




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                                                                                                                                                                                              Page:       1
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                                                                                    FORM 1
                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                 ASSET CASES
                                                                                                                                                                                                  Exhibit 8
Case No:              18-15237                       SAH       Judge:        Sarah A. Hall                              Trustee Name:                      DOUGLAS N. GOULD, TRUSTEE
Case Name:            CHERYL ANN BURNS                                                                                  Date Filed (f) or Converted (c):   12/20/2018 (f)
                                                                                                                        341(a) Meeting Date:               01/16/2019
For Period Ending:    01/08/2020                                                                                        Claims Bar Date:                   08/13/2019


                                   1                                        2                            3                           4                          5                             6

                          Asset Description                               Petition/                Est Net Value             Property Formally             Sale/Funds                     Asset Fully
              (Scheduled and Unscheduled (u) Property)                  Unscheduled            (Value Determined by             Abandoned                  Received by                Administered (FA)/
                                                                          Values                Trustee, Less Liens,            OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                    Exemptions,                                                                             Assets
                                                                                                  and Other Costs)

  1. 2018 Honda CRV                                                              32,000.00                       0.00                                                       0.00                        FA
  2. Household Goods                                                              2,000.00                       0.00                                                       0.00                        FA
  3. Electronics                                                                  1,500.00                       0.00                                                       0.00                        FA
  4. Golf clubs                                                                       100.00                     0.00                                                       0.00                        FA
  5. Baretta                                                                          200.00                     0.00                                                       0.00                        FA
  6. Clothes                                                                      1,000.00                       0.00                                                       0.00                        FA
  7. Wedding ring                                                                     250.00                     0.00                                                       0.00                        FA
  8. Adopted shelter dog                                                                0.00                     0.00                                                       0.00                        FA
  9. CPAP, crutches                                                                   100.00                     0.00                                                       0.00                        FA
 10. Bank of America checking account                                                 656.30                     0.00                                                       0.00                        FA
 11. BancFirst checking account                                                        24.34                     0.00                                                       0.00                        FA
 12. Bank of America savings account                                                   41.40                     0.00                                                       0.00                        FA
 13. Etrade                                                                             0.00                     0.00                                                       0.00                        FA

     Scheduled value -17.65
 14. 401k TIAA                                                                        668.62                     0.00                                                       0.00                        FA
 15. OG&E deposit                                                                      25.00                     0.00                                                       0.00                        FA
 16. ONG deposit                                                                      125.00                     0.00                                                       0.00                        FA
 17. Gary Owens rental deposit                                                    1,000.00                       0.00                                                       0.00                        FA
 18. City of Oklahoma City deposit                                                     50.00                     0.00                                                       0.00                        FA
 19. State Farm - Life Insurance                                                        0.00                     0.00                                                       0.00                        FA
 20. State Farm - Renters Insurance                                                     0.00                     0.00                                                       0.00                        FA
 21. 2018 tax refunds (u)                                                        Unknown                     2,492.03                                                2,492.03                           FA


                                                                                                                                                                         Gross Value of Remaining Assets



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                                                                                                                                                                        Page:        2
                                                           Case: 18-15237             Doc: 32         Filed: 02/06/20             Page: 8 of 13
TOTALS (Excluding Unknown Values)                                                    $39,740.66                   $2,492.03                       $2,492.03                     $0.00
                                                                                                                                                     (Total Dollar Amount in Column 6)
                                                                                                                                                                         Exhibit 8
Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

January 8, 2020 Prepare TDR.
November 8, 2019 Cut checks.
October 15, 2019 UST filed TFR. File NFR and FA
October 9, 2019 Submit TFR to UST.
September 3, 2019 Prepare TFR.
August 16, 2019 Trustee reviewing claims.
June 10, 2019 Received funds.
May 13, 2019 Received tax returns. $2,550.30 owed to estate. emailed debtor. Withdraw NDR.




Initial Projected Date of Final Report (TFR): 12/20/2020            Current Projected Date of Final Report (TFR): 12/20/2020




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                                                                                                                                                                                                   Page:           1
                                                           Case: 18-15237            Doc: 32           Filed: 02/06/20            Page: 9 of 13
                                                                                           FORM 2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 18-15237                                                                                              Trustee Name: DOUGLAS N. GOULD, TRUSTEE                                   Exhibit 9
      Case Name: CHERYL ANN BURNS                                                                                           Bank Name: Axos Bank
                                                                                                                   Account Number/CD#: XXXXXX1011
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX8742                                                                               Blanket Bond (per case limit): $7,904,000.00
For Period Ending: 01/08/2020                                                                              Separate Bond (if applicable):


       1                2                              3                                              4                                                     5                   6                     7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   06/10/19             21        Cheryl Burns                               2018 Income Tax Refunds                               1124-000                  $2,492.03                                 $2,492.03

   11/08/19           2001        DOUGLAS N. GOULD                           Final distribution creditor                           2100-000                                         $623.01            $1,869.02
                                  5500 N. Western Ave., Ste. 150             account # representing a
                                  Oklahoma City, OK 73118                    payment of 100.00 % per court
                                                                             order.
   11/08/19           2002        DOUGLAS N. GOULD                           Final distribution creditor                           2200-000                                          $43.50            $1,825.52
                                  5500 N. Western Ave., Ste. 150             account # representing a
                                  Oklahoma City, OK 73118                    payment of 100.00 % per court
                                                                             order.
   11/08/19           2003        MERRICK BANK                               Final distribution to claim 1                         7100-000                                         $192.41            $1,633.11
                                  MERRICK BANK                               creditor account # representing
                                  RESURGENT CAPITAL SERVICES                 a payment of 4.97 % per court
                                  PO BOX 10368                               order.
                                  GREENVILLE, SC 29603-0368
   11/08/19           2004        Discover Bank                              Final distribution to claim 2                         7100-000                                         $168.93            $1,464.18
                                  DISCOVER BANK                              creditor account # representing
                                  DISCOVER PRODUCTS INC                      a payment of 4.97 % per court
                                  PO BOX 3025                                order.
                                  NEW ALBANY, OH 43054-3025
   11/08/19           2005        PYOD, LLC                                  Final distribution to claim 3                         7100-000                                         $110.90            $1,353.28
                                  RESURGENT CAPITAL SERVICES                 creditor account # representing
                                  PO BOX 19008                               a payment of 4.97 % per court
                                  GREENVILLE, SC 29602                       order.
   11/08/19           2006        PYOD, LLC                                  Final distribution to claim 4                         7100-000                                          $57.62            $1,295.66
                                  RESURGENT CAPITAL SERVICES                 creditor account # representing
                                  PO BOX 19008                               a payment of 4.97 % per court
                                  GREENVILLE, SC 29602                       order.
   11/08/19           2007        FIRST NATIONAL BANK OF OMAHA               Final distribution to claim 5                         7100-000                                          $52.00            $1,243.66
                                  1620 DODGE STREET, STOP CODE               creditor account # representing
                                  3105                                       a payment of 4.97 % per court
                                  OMAHA, NE 68197                            order.
   11/08/19           2008        CAPITAL ONE BANK (USA), N.A.               Final distribution to claim 6                         7100-000                                           $5.91            $1,237.75
                                  4515 N SANTA FE AVE                        creditor account # representing
                                  OKLAHOMA CITY, OK 73118                    a payment of 4.97 % per court
                                                                             order.




                                                                                    Page Subtotals:                                                          $2,492.03           $1,254.28
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                                                          Case: 18-15237           Doc: 32           Filed: 02/06/20            Page: 10 of 13
                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 18-15237                                                                                             Trustee Name: DOUGLAS N. GOULD, TRUSTEE                                   Exhibit 9
      Case Name: CHERYL ANN BURNS                                                                                          Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX1011
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8742                                                                              Blanket Bond (per case limit): $7,904,000.00
For Period Ending: 01/08/2020                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   11/08/19           2009        CAPITAL ONE BANK (USA), N.A.              Final distribution to claim 7                         7100-000                                         $117.31            $1,120.44
                                  4515 N SANTA FE AVE                       creditor account # representing
                                  OKLAHOMA CITY, OK 73118                   a payment of 4.97 % per court
                                                                            order.
   11/08/19           2010        JPMORGAN CHASE BANK, N.A.                 Final distribution to claim 8                         7100-000                                          $26.65            $1,093.79
                                  S/B/M/T CHASE BANK USA, N.A.              creditor account # representing
                                  C/O ROBERTSON, ANSCHUTZ &                 a payment of 4.97 % per court
                                  SCHNEID, P.L.                             order.
                                  6409 CONGRESS AVENUE, SUITE 100
                                  BOCA RATON, FL 33487
   11/08/19           2011        JPMORGAN CHASE BANK, N.A.                 Final distribution to claim 9                         7100-000                                          $25.55            $1,068.24
                                  S/B/M/T CHASE BANK USA, N.A.              creditor account # representing
                                  C/O ROBERTSON, ANSCHUTZ &                 a payment of 4.97 % per court
                                  SCHNEID, P.L.                             order.
                                  6409 CONGRESS AVENUE, SUITE 100
                                  BOCA RATON, FL 33487
   11/08/19           2012        CAPITAL ONE, N.A.                         Final distribution to claim 10                        7100-000                                          $18.92            $1,049.32
                                  CAPITAL ONE, N.A.                         creditor account # representing
                                  C/O BECKET AND LEE LLP                    a payment of 4.97 % per court
                                  PO BOX 3001                               order.
                                  MALVERN PA 19355-0701
   11/08/19           2013        AMERICAN EXPRESS NATIONAL BANK            Final distribution to claim 11                        7100-000                                          $54.15               $995.17
                                  C/O BECKET AND LEE LLP                    creditor account # representing
                                  PO BOX 3001                               a payment of 4.97 % per court
                                  MALVERN PA 19355-0701                     order.
   11/08/19           2014        QUANTUM3 GROUP LLC AS AGENT               Final distribution to claim 12                        7100-000                                          $29.45               $965.72
                                  FOR                                       creditor account # representing
                                  MOMA TRUST LLC                            a payment of 4.97 % per court
                                  PO BOX 788                                order.
                                  KIRKLAND, WA 98083-0788
   11/08/19           2015        QUANTUM3 GROUP LLC AS AGENT               Final distribution to claim 13                        7100-000                                         $113.61               $852.11
                                  FOR                                       creditor account # representing
                                  QUANTUM3 GROUP LLC AS AGENT               a payment of 4.97 % per court
                                  FOR                                       order.
                                  COMENITY CAPITAL BANK
                                  PO BOX 788
                                  KIRKLAND, WA 98083-0788
   11/08/19           2016        Clerk, U.S. Bankruptcy Court              Remit to Court                                        7100-001                                           $2.99               $849.12



                                                                                   Page Subtotals:                                                              $0.00              $388.63
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                                                                                          FORM 2
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 18-15237                                                                                             Trustee Name: DOUGLAS N. GOULD, TRUSTEE                                   Exhibit 9
      Case Name: CHERYL ANN BURNS                                                                                          Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX1011
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8742                                                                              Blanket Bond (per case limit): $7,904,000.00
For Period Ending: 01/08/2020                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   11/08/19           2017        PYOD, LLC                                 Final distribution to claim 15                        7100-000                                         $136.80               $712.32
                                  RESURGENT CAPITAL SERVICES                creditor account # representing
                                  PO BOX 19008                              a payment of 4.97 % per court
                                  GREENVILLE, SC 29602                      order.
   11/08/19           2018        PYOD, LLC                                 Final distribution to claim 16                        7100-000                                          $69.49               $642.83
                                  RESURGENT CAPITAL SERVICES                creditor account # representing
                                  PO BOX 19008                              a payment of 4.97 % per court
                                  GREENVILLE, SC 29602                      order.
   11/08/19           2019        PYOD, LLC                                 Final distribution to claim 17                        7100-000                                          $47.68               $595.15
                                  RESURGENT CAPITAL SERVICES                creditor account # representing
                                  PO BOX 19008                              a payment of 4.97 % per court
                                  GREENVILLE, SC 29602                      order.
   11/08/19           2020        PYOD, LLC                                 Final distribution to claim 18                        7100-000                                          $59.40               $535.75
                                  RESURGENT CAPITAL SERVICES                creditor account # representing
                                  PO BOX 19008                              a payment of 4.97 % per court
                                  GREENVILLE, SC 29602                      order.
   11/08/19           2021        PYOD, LLC                                 Final distribution to claim 19                        7100-000                                         $214.35               $321.40
                                  RESURGENT CAPITAL SERVICES                creditor account # representing
                                  PO BOX 19008                              a payment of 4.97 % per court
                                  GREENVILLE, SC 29602                      order.
   11/08/19           2022        PYOD, LLC                                 Final distribution to claim 20                        7100-000                                          $69.67               $251.73
                                  RESURGENT CAPITAL SERVICES                creditor account # representing
                                  PO BOX 19008                              a payment of 4.97 % per court
                                  GREENVILLE, SC 29602                      order.
   11/08/19           2023        PYOD, LLC                                 Final distribution to claim 21                        7100-000                                          $89.10               $162.63
                                  RESURGENT CAPITAL SERVICES                creditor account # representing
                                  PO BOX 19008                              a payment of 4.97 % per court
                                  GREENVILLE, SC 29602                      order.
   11/08/19           2024        PYOD, LLC                                 Final distribution to claim 22                        7100-000                                          $57.32               $105.31
                                  RESURGENT CAPITAL SERVICES                creditor account # representing
                                  PO BOX 19008                              a payment of 4.97 % per court
                                  GREENVILLE, SC 29602                      order.
   11/08/19           2025        DEPARTMENT STORES NATIONAL                Final distribution to claim 23                        7100-000                                         $105.31                 $0.00
                                  BANK                                      creditor account # representing
                                  C/O QUANTUM3 GROUP LLC                    a payment of 4.97 % per court
                                  PO BOX 657                                order.
                                  KIRKLAND, WA 98083-0657




                                                                                   Page Subtotals:                                                              $0.00              $849.12
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                                                                                                                                                 Page:    4
                                            Case: 18-15237   Doc: 32           Filed: 02/06/20          Page: 12 of 13
                                                                                   COLUMN TOTALS                         $2,492.03   $2,492.03
                                                                                          Less: Bank Transfers/CD's         $0.00       $0.00
                                                                                   Subtotal                              $2,492.03   $2,492.03    Exhibit 9
                                                                                          Less: Payments to Debtors         $0.00       $0.00
                                                                                    Net                                  $2,492.03   $2,492.03




                                                             Page Subtotals:                                                $0.00       $0.00
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                                                                                                                                                                          Exhibit 9
                                                                                                  TOTAL OF ALL ACCOUNTS
                                                                                                                                                     NET             ACCOUNT
                                                                                                                  NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                              XXXXXX1011 - Checking                                                      $2,492.03              $2,492.03                 $0.00
                                                                                                                         $2,492.03              $2,492.03                 $0.00

                                                                                                                 (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                         transfers)            to debtors)
                                              Total Allocation Receipts:                             $0.00
                                              Total Net Deposits:                                 $2,492.03
                                              Total Gross Receipts:                               $2,492.03




                                                                      Page Subtotals:                                                   $0.00                $0.00
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